Case 1:16-cr-10094-LTS Document 518-20 Filed 10/10/18 Page 1 of 1

tierpoint

8/2/2018

The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

RE: Ross McLellan
The Honorable Leo T. Sorokin:

My name is Brian Koyce. I am a husband and father of 2 children, an Account Executive at TierPoint,
(TierPoint is national hybrid Information Technology infrastructure provider)a Hingham, MA resident and
neighbor to the McLellan’s for the past 11 years.

The McLellan’s children and ours are of similar ages, yet do not run in the same circles. We both have 11-
year-old boys, however our son has special needs. My interaction and friendship with Ross developed in and
around our neighborhood over the past 11 years independent of the kid’s activities. As a New Jersey transplant,
and diehard New York Jet fan, and Ross a diehard Patriots fan, we have talked a lot of football and sports over
the years.

His dry, sarcastic humor that sliced through my team loyalty is part of my morning ritual and always gave me a
good laugh to start the day at the kids bus stop.

Although my interactions with Ross haven’t been through work or through joint coaching of our children,
they have shown me who Ross is. With our son having special needs, his interests have not fallen in the
traditional sport activities that many kids play and often are the topic of adult social discussions. Ross always
asks about what our kids are doing and his supportive attitude towards our activities (mountain biking, skiing,
etc) have always been appreciated. I have run into many parents that avoid this discussion with me. Ross
always sums up that spending time with our kids is always the most important thing and he has a very realistic
view of the kid’s sports activities that we don’t participate in. It always amazes me that Ross can verbally
destroy me in jest over the Pats/Jets game and reassure me in parenting and what is important in the same
conversation in the most, humble and knowing ways. In a world of fakeness and posturing, Ross McLellan is
one of the most real people I know.

Thank you for your time and consideration.
Sincerely,

Brian Koyce

34 Saint Martin Drive, Suite 1 Marlborough, MA 01752
Local Service, Coast to Coast e www.TierPoint.com
